Case 1:20-cv-03010-APM   Document 1139-2   Filed 01/16/25   Page 1 of 8




              EXHIBIT B
        Case 1:20-cv-03010-APM                                 Document 1139-2                           Filed 01/16/25                  Page 2 of 8


From:                Khetarpal, Mihir
To:                  "Zachary Flood"; Grace Ramirez; Yeager, Christopher
Cc:                  Greenblum, Benjamin; McGowan, John
Subject:             RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715
Date:                Tuesday, January 14, 2025 2:19:00 PM


Zack:

Could you please provide the number of actual hits that Google’s string yields (excluding families)? And can you clarify
whether that figure involves de-duplication (1) across custodians and (2) across other search strings?

Setting aside what the 67,513 constitutes, we are concerned that the strings as you have revised them include no mention of
Perplexity’s answer engine or application. Under Perplexity’s proposal, the search term you would run would include, for
instance, the names of the chatbots marketed by Anthropic and xAI but not the answer engine marketed by Perplexity. What
do you propose to add to the string to solve for that problem? We tried to preemptively address that problem by asking you
for codenames last month, but it sounds as though you have identified no codenames.

Best,
Mihir


Mihir Khetarpal
Williams & Connolly LLP
680 Maine Avenue SW, Washington, DC 20024
202-434-5082 | mkhetarpal@wc.com | www.wc.com


From: Zachary Flood <zflood@lewisllewellyn.com>
Sent: Tuesday, January 14, 2025 1:32 PM
To: Khetarpal, Mihir <mkhetarpal@wc.com>; Grace Ramirez <gramirez@lewisllewellyn.com>; Yeager, Christopher
<CYeager@wc.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; McGowan, John <jmcgowan@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715

Mihir,

The inclusion of “Perplexity” in the left column of that chart was an oversight. The hits reflect the results without the
inclusion of that term.

With the term “Perplexity” included the review universe of hits plus families for the custodial ESI of Messers. Shevelenko, Ho,
and Yarats for these search terms is a facially unreasonable 67,513 documents.

Our understanding is that Perplexity does not make significant or standardized use of code names in its internal
communications. We are open to including potential shorthand references such as “3.5” for chatgpt-3.5 in these search strings,
so long as they do not significantly expand the ultimate review universe. We avoided doing that in the first instance because,
again, your proposed search strings were so long that they could not be run as initially written.

On that point, our vendor has finally been able to break up Google’s proposed search string for Subpoena 1, RFP No. 1 into 55
separate strings to allow us to gauge overall hits and where they are coming from. The total hit count, plus families, for those
terms against Messers. Shevelenko, Ho, and Yarats’ ESI collections is 5,961 documents.

A summary of all these hit counts is included in the attached spreadsheet.

Best,
Zack

Zachary C. Flood
Lewis & Llewellyn LLP   |  Attorney
601 Montgomery Street, Suite 2000
San Francisco, CA 94111
628-300-1525
www.lewisllewellyn.com

 This email may contain confidential and/or privileged information. If you received this email in error please delete and notify sender.
     Case 1:20-cv-03010-APM                        Document 1139-2                  Filed 01/16/25           Page 3 of 8



From: Khetarpal, Mihir <mkhetarpal@wc.com>
Sent: Tuesday, January 14, 2025 7:43 AM
To: Grace Ramirez <gramirez@lewisllewellyn.com>; Zachary Flood <zflood@lewisllewellyn.com>; Yeager, Christopher
<CYeager@wc.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; McGowan, John <jmcgowan@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715

Grace,

Thank you for your email. A few clarifying questions:

         Your email says that Perplexity has removed the term “Perplexity” from the terms for RFP No. 2, yet the chart below still
         includes the word “Perplexity.” Do the hit columns that you’ve included in the two columns to the right reflect hits with
         “Perplexity” or without?

         If the hit counts reflect figures omitting “Perplexity,” what would the hit count be with the word Perplexity restored?

         We assume that the reason that you excluded Perplexity is because it is the name of the company. As you know, our
         proposed search terms included placeholders like {code name(s) for Perplexity’s models}, {code name(s) for the
         Perplexity Service}, {code name(s) for the Perplexity App}. We do not see codenames in the strings below. Is it really
         Perplexity’s position that it need not include any terms that refer to Perplexity’s app, service, or models?

Best,
Mihir


Mihir Khetarpal
Williams & Connolly LLP
680 Maine Avenue SW, Washington, DC 20024
202-434-5082 | mkhetarpal@wc.com | www.wc.com


From: Grace Ramirez <gramirez@lewisllewellyn.com>
Sent: Monday, January 13, 2025 6:43 PM
To: Khetarpal, Mihir <mkhetarpal@wc.com>; Zachary Flood <zflood@lewisllewellyn.com>; Yeager, Christopher
<CYeager@wc.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; McGowan, John <jmcgowan@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715

Hi Mihir,

Confirming 5pm EST works to exchange JSR inserts tomorrow.

I also wanted to pass along updated hit counts for your search terms for the second subpoena, RFP Nos. 2 and 3. We have
removed the term “Perplexity” from the terms for RFP No. 2—for obvious reasons—to reach a more reasonable number of
hits.

The numbers below reflect hit counts against the custodial collections of Messrs. Yarats, Shevelenko, and Ho.

  Request                                                                                  Documents with     Documents with hits,
                                                 Terms
    No.                                                                                         hits           including families
                (Bing* OR Edge OR “search engine” OR GSE OR Google OR Chrome OR browser)
                W/10 (GPT* OR Claude* OR Sonar* OR 4o* OR Haiku* OR Grok* OR xAI* OR
        2       Perplexity)                                                                           573                          729
                (investment* OR barrier* OR moat* OR capital* OR cloud*) AND (GPT* OR
        2       Claude* OR Sonar* OR 4o* OR Haiku* OR Grok* OR xAI* OR Perplexity)                  2,329                      3,171
        Case 1:20-cv-03010-APM                               Document 1139-2                        Filed 01/16/25                   Page 4 of 8


                 (“data sharing” OR API) W/10 (GPT* OR Claude* OR Sonar* OR 4o* OR Haiku*
        2        OR Grok* OR xAI* OR Perplexity)                                                                          6,481                    7,571
                 (strategy OR strategies OR strategic OR roadmap OR vision) w/3 (Bing* OR Edge
                 OR Microsoft OR MSFT OR Copilot OR Prometheus OR Gemini OR Bard OR
                 Claude OR ChatGPT OR SearchGPT OR Haiku OR Apple OR APPL OR Perplexity
                 OR GPT* Or 4o* OR “You.com” OR Claude* OR Sonnet* Or Sonar* OR Grok* OR
        3        xAI*)                                                                                                    2,509                    3,143

We are willing to proceed with these terms as run against these custodians. Please note that our position is subject to change
if the Court were to order Mr. Srinivas be exchanged a custodian with Mr. Yarats, depending on hit counts.

We are still attempting to determine hit count numbers for your search strings for RFP No. 1 in the first subpoena. The revised
first string you recently sent is still too long to run in Relativity. Our vendor is currently attempting to break it down into
smaller strings to get a sense of hit counts for the larger string.

Thanks,
Grace


Grace Ramirez
Lewis & Llewellyn LLP   |  Attorney
601 Montgomery Street, Suite 2000
San Francisco, CA 94111
628-246-2318
Admitted to NY and DC Bar Only
www.lewisllewellyn.com
This email may contain confidential and/or privileged information. If you received this email in error please delete and notify sender.



From: Khetarpal, Mihir <mkhetarpal@wc.com>
Sent: Monday, January 13, 2025 8:32 AM
To: Zachary Flood <zflood@lewisllewellyn.com>; Yeager, Christopher <CYeager@wc.com>; Grace Ramirez
<gramirez@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; McGowan, John <jmcgowan@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715

Zack,

Thanks for your email. We fundamentally disagree on the appropriateness of Mr. Srinivas’s documents. “[H]igh-ranking
executives at some of the world’s largest technology companies” have already testified repeatedly in this case, United States v.
Google LLC, 2024 WL 3647498, at *3 (D.D.C. Aug. 5, 2024). That Mr. Srinivas is the CEO cannot offer him a free pass from
document collection in this case.

With respect to search terms, we do not believe that search string 2’s hit count of 22,478 documents is burdensome,
particularly given that Perplexity did not produce documents during the liability phase.

On search string 1, we are happy to break our string into two parts for testing, with the caveat that doing so may inaccurately
raise hit counts: A document that is responsive to both parts of the string will hit as two documents when the string is broken
up, but only one when it is run together:

                             1. ((agreement! OR contract! OR partner! OR redlin! OR negotiat! OR analy! OR “joint venture” OR JV
                                OR “joint development” OR relationship! OR collaborat!) W/12 ((exclusiv! OR DSE OR default! OR
                                pre-install! OR preinstall! OR pre-set! OR preset! OR place OR places OR placed OR placing OR
                                placement OR promot! OR distribut! OR preload! OR syndicat! OR integrat! OR (shar! W/2 rev!) OR
                                revshare) W/8 (Bing OR Bing’s OR Edge OR Microsoft OR MSFT OR Copilot OR Prometheus OR
                                Gemini OR Bard OR Claude OR ChatGPT OR SearchGPT OR Haiku OR Apple OR APPL OR Perplexity
                                OR GPT! Or 4o! OR “You.com” OR Claude! OR Sonnet! Or Sonar! OR Grok! OR xAI! OR {code name
                                for Bing} OR {code name for Edge} OR {code name for Microsoft} OR {code name for Copilot} OR
                                {code name for Prometheus} OR {code name for Gemini/Bard} OR {code name for Claude} OR {code
     Case 1:20-cv-03010-APM                      Document 1139-2                 Filed 01/16/25             Page 5 of 8


                           name for Sonar} OR {code name for Grok} OR {code name for xAI} OR {code name for ChatGPT} OR
                           {code name for SearchGPT} OR {code name(s) for Perplexity’s models} OR {code name(s) for the
                           Perplexity Service} OR {code name(s) for the Perplexity App} OR Sydney OR {code name for Apple}
                           OR {code name for You.Com})))
                        2. ((distribution OR integration OR service! OR syndicat! OR licens!) W/2 agreement) OR ((Bing OR
                           Bing’s OR Edge OR Microsoft OR MSFT OR Copilot OR Prometheus OR Gemini OR Bard OR Claude OR
                           ChatGPT OR SearchGPT OR Haiku OR Apple OR APPL OR Perplexity OR GPT! Or 4o! OR “You.com” OR
                           Claude! OR Sonnet! Or Sonar! OR Grok! OR xAI! OR {code name for Bing} OR {code name for Edge}
                           OR {code name for Microsoft} OR {code name for Copilot} OR {code name for Prometheus} OR {code
                           name for Gemini/Bard} OR{code name for Claude} OR {code name for Sonar} OR{code name for
                           Grok} OR {code name for xAI} OR {code name for ChatGPT} OR {code name for SearchGPT} OR {code
                           name(s) for Perplexity’s models} OR {code name(s) for the Perplexity Service} OR {code name(s) for
                           the Perplexity App} OR Sydney OR {code name for Apple} OR {code name for You.Com}) AND (“115
                           Sansome” OR “575 Market” OR 94105 OR 94104) AND (termination! OR definition! OR “witness
                           whereof”)).

With respect to RFP 3, we disagree that the RFP would encompass all ESI—it is hard to imagine that the document custodians
exchange email only about “Perplexity AI’s strategy with respect to AI Products and the integration of artificial intelligence into
search-related products.” In any event, we believe the text of the RFP is sufficiently clear, and seeks documents relating to
subject matter of interest to the Court. See Hr’g Tr. (Nov. 26, 2024), at 38:12–39:9.

With respect to RFP 6, thank you for your proposal. We are happy to review the three categories you propose to provide, with
each party reserving its rights.

Looking ahead to the JSR, it appears to us that the companies have two disputes to resolve:
   1. Whether Perplexity will include Mr. Srinivas, Mr. Ho, and Mr. Shevelenko as its three ESI custodians, and
   2. Whether Perplexity will run Google’s search terms for the (1) Request No. 1 of the first subpoena, (2) Request No. 2 of
      the second subpoena, and (3) Request No. 3 of the second subpoena and the timing for Perplexity’s substantial
      completion.

In terms of timing for exchanging inserts, we propose January 14 at 5:00 pm EST. Please let us know if Perplexity agrees.



Best,
Mihir


Mihir Khetarpal
Williams & Connolly LLP
680 Maine Avenue SW, Washington, DC 20024
202-434-5082 | mkhetarpal@wc.com | www.wc.com


From: Zachary Flood <zflood@lewisllewellyn.com>
Sent: Friday, January 10, 2025 7:09 PM
To: Khetarpal, Mihir <mkhetarpal@wc.com>; Yeager, Christopher <CYeager@wc.com>; Grace Ramirez
<gramirez@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; McGowan, John <jmcgowan@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715

Hi Mihir,

Thank you for your email and for your counterproposal. Perplexity is open to including Mr. Shevelenko and Mr. Ho as
custodians. However, we still do not believe including Perplexity’s CEO—Mr. Srinivas—is appropriate. In the interests of
compromise, we would be willing to provide custodial ESI from Mr. Shevelenko, Mr. Ho, and Mr. Yarats. We note that Mr.
Ho and Mr. Yarats are two of Perplexity’s three co-founders and, together with Mr. Shevelenko, are the highest-level
executives at the company other than Mr. Srinivas. They also have differing roles, ensuring their combined ESI collection
would provide expansive coverage over Perplexity’s operations and knowledge relevant to this case. Please let us know if
Google agrees to this proposal and we will proceed with collecting their ESI immediately and running search terms
     Case 1:20-cv-03010-APM                                 Document 1139-2                        Filed 01/16/25                   Page 6 of 8


immediately.

On the search term front, while this exercise is not entirely helpful prior to reaching final agreement on custodians, we have
returned hit counts for Google’s search string 2 and 3 (related to the second subpoena) for Mr. Foutty and Mr. Shevelenko,
which provides some early indication of whether they need to be refined. Against those two custodians, search string 2
produces 22,478 hits + families and search string 3 produces 1,256 hits + family members. While we are still finalizing
custodians and these hit counts may change, we recommend you propose narrowing modifications to the following terms in
search string 2, all of which produced between 3,685 hits and 13,587 hits against those two custodians.

 (investment* OR barrier* OR moat* OR capital* OR cloud*) AND (Perplexity)
 (investment*) AND (GPT* OR Claude* OR Sonar* OR 4o* OR Haiku* OR Grok* OR xAI*
 OR Perplexity)
 (Bing* OR Edge OR “search engine” OR GSE OR Google OR Chrome OR browser) W/10
 (Perplexity)
 (Google) W/10 (GPT* OR Claude* OR Sonar* OR 4o* OR Haiku* OR Grok* OR xAI* OR
 Perplexity)
 (capital*) AND (GPT* OR Claude* OR Sonar* OR 4o* OR Haiku* OR Grok* OR xAI* OR
 Perplexity)
 (cloud*) AND (GPT* OR Claude* OR Sonar* OR 4o* OR Haiku* OR Grok* OR xAI* OR
 Perplexity)
 (API) W/10 (GPT* OR Claude* OR Sonar* OR 4o* OR Haiku* OR Grok* OR xAI* OR
 Perplexity)
 (“data sharing” OR API) W/10 (Perplexity)

As to Google’s search string 1, we are having difficulty running Google’s first search string given its length and Boolean
complexity. Even without the bracketed placeholders you inserted in that search string, it exceeds the allowable character limit
in Relativity. In fact, the second parenthetical term in that search string (beginning “Bing!”) exceeds the Relativity character
limit on its own. We have been trying to break it up into smaller pieces to run it, and to try to figure out what terms might be
causing an inordinate amount of hits. That work is still ongoing.

For purely logistical purposes, we would appreciate it if you could break this large search string down into smaller individual
terms so that we can provide accurate hit counts tied to specific terms once we have reached agreement on custodians.

Looking forward past the ESI collection and search terms to the actual relevance review, we also ask that Google narrow and
provide further clarification as to what exactly it is seeking in response to RFP 3. As written, all documents “regarding
Perplexity AI’s strategy with respect to AI Products and the integration of artificial intelligence into search-related products” is
so expansive that it may immediately encompass the entire universe of whatever ESI we collect. Any specificity you can offer
on this Request would be appreciated.

Finally, as to RFP 6, we have followed-up with our client and can offer the following categories of information in response to
that request. Please confirm this resolves any dispute over that request.

       Perplexity’s form nondisclosure agreement;
       Perplexity’s form data processing agreement; and
       Perplexity’s privacy policy.

Thanks,
Zack

Zachary C. Flood
Lewis & Llewellyn LLP   |  Attorney
601 Montgomery Street, Suite 2000
San Francisco, CA 94111
628-300-1525
www.lewisllewellyn.com

 This email may contain confidential and/or privileged information. If you received this email in error please delete and notify sender.



From: Khetarpal, Mihir <mkhetarpal@wc.com>
Sent: Thursday, January 9, 2025 5:50 PM
To: Zachary Flood <zflood@lewisllewellyn.com>; Yeager, Christopher <CYeager@wc.com>; Grace Ramirez
<gramirez@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; McGowan, John <jmcgowan@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715
        Case 1:20-cv-03010-APM                              Document 1139-2                        Filed 01/16/25                   Page 7 of 8



Zack,

With respect to custodians, as a compromise in order to avoid the necessity to burden the Court on this issue in Tuesday’s JSR,
we would agree to three custodians for all custodial requests (Request 1 in the first subpoena, and Requests 2 and 3 in the
second subpoena), so long as those custodians are Mr. Shevelenko, Mr. Srinivas, and Mr. Ho. This compromise should
eliminate your burden concern. Please let us know if you will agree to this compromise.

Please let us know if we can still expect hit counts on our proposed search strings today. And please let us know whether
Perplexity will produce documents responsive to Request 6 in the second subpoena. Thanks.

Best,
Mihir


Mihir Khetarpal
Williams & Connolly LLP
680 Maine Avenue SW, Washington, DC 20024
202-434-5082 | mkhetarpal@wc.com | www.wc.com


From: Zachary Flood <zflood@lewisllewellyn.com>
Sent: Wednesday, January 8, 2025 2:30 PM
To: Yeager, Christopher <CYeager@wc.com>; Grace Ramirez <gramirez@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; Khetarpal, Mihir <mkhetarpal@wc.com>; McGowan, John
<jmcgowan@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715

Hi Chris,

Thanks for following up. We will be in touch as soon as we have updates on hit counts from the custodians the Court ordered
us to identify.

I appreciate your candid assessment, but we fundamentally disagree that Perplexity should have to go through the exercise of
collecting every email from some of its highest-level executives—including its CEO—before it can reach the determination
that a request is overly burdensome. That is particularly true here in light of the clear expansive language of that request,
which demands “All documents . . . regarding Perplexity AI’s strategy with respect to AI products . . .”

I’m not available on Friday, but we’ll plan on keeping the lines of communication open as we have updates.

Best,
Zack

Zachary C. Flood
Lewis & Llewellyn LLP   |  Attorney
601 Montgomery Street, Suite 2000
San Francisco, CA 94111
628-300-1525
www.lewisllewellyn.com

 This email may contain confidential and/or privileged information. If you received this email in error please delete and notify sender.



From: Yeager, Christopher <CYeager@wc.com>
Sent: Tuesday, January 7, 2025 6:19 PM
To: Grace Ramirez <gramirez@lewisllewellyn.com>; Zachary Flood <zflood@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; Khetarpal, Mihir <mkhetarpal@wc.com>; McGowan, John
<jmcgowan@wc.com>
Subject: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715

Zack and Grace:
        Case 1:20-cv-03010-APM                        Document 1139-2                     Filed 01/16/25               Page 8 of 8


Thanks for your time today. Based on our discussion, I understand that Perplexity will provide us hit counts for the strings that
Mihir previously circulated, hopefully by tomorrow but certainly by Thursday.

Regarding Requests No. 2 and 3 of Google’s second subpoena, I understand that Perplexity is willing to produce responsive
documents (subject to an agreement on search terms) but not from any custodians other than Shevelenko, Foutty, and
Jorgens. As you know, Request No. 3 also seeks documents from Mr. Srinivas, Mr. Yarats, and Mr. Ho. Based on our
conversation, I understand that Perplexity does not dispute the relevance of their documents but resists production on the
basis of burden. Candidly, I do not understand how Perplexity can argue that production of responsive documents from Mr.
Srinivas’, Mr. Yarats’, and Mr. Ho’s files would be unduly burdensome if Perplexity has not even collected those documents,
much less tested Google’s search terms, and I expect that we will require the Court’s assistance to resolve this matter as part
of the January 14 JSR submission.

Lastly, I understand that you are taking a fresh look for documents responsive to Request No. 6 of Google’s second subpoena.

To move things forward, I would propose that we put some time on the calendar for Friday once we have Perplexity’s hit count
and the balance of its first production. Please let us know if you would be available on Friday at 12:00 pm EST.

Best,
Chris

Christopher Yeager
Williams & Connolly LLP
680 Maine Avenue, S.W., Washington, DC 20024
202-434-5621 | Cyeager@wc.com | www.wc.com




This message and any attachments are intended only for the addressee and may contain information that is privileged and confidential. If you
have received this message in error, please do not read, use, copy, distribute, or disclose the contents of the message and any attachments.
Instead, please delete the message and any attachments and notify the sender immediately. Thank you.
